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                  IN THE UNITED STATES DISTRICT COURT                                 ^c/^
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   UNITED STATES OF AMERICA

          V.                                  Criminal Indictment

   AARON CHRISTOPHER WILLIAM
   COLE A/K/A WILLIAM AARON
                                              No. 1 S             GR»177
   COLE



THE GRAND JURY CHARGES THAT:

                                     Count One
                      (General Conspiracy -18 U.S.C. § 371)

   Begmning at least from on or about April 12,2018, and continuing through at

least on or about August 26, 2019, in the Northern District of Georgia and

elsewhere/ the defendant/ AARON CHRISTOPHER WILLIAM COLE, also

known as WiUiam Aaron Cole/ and others unknown to the grand jury/

knowingly and willfully conspired/ agreed and had a tacit understanding with

one another, to knowingly cause a false representation to be made with respect to

information required to be kept in the records of a federal firearms licensee/

licensed under Chapter 44 of Title 18, United States Code/ an offense against the

United States/ in violation of Title 18, United States Code/ Section 924(a)(l)(A).

                                  Manner and Means

   The manner and means used to accomplish the objectives of the conspiracy

included/ among other means, the following:
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1. The defendant/ AARON CHmSTOPHER WILLIAM COLE/ also known as

    WiUiam Aaron Cole/ and others unknown to the grand jury/ obtained

   firearms from federal firearms licensees ( FFLs ) that they transported/

   and caused to be transported/ to the United States Virgin Islands (//USW/).

2. COLE completed an ATF Form 4473 at the time of the purchase of the

   firearms. ATF Form 4473 is the official firearms transaction record for

   intrastate/ over-the-counter sales, and dispositions of firearms/ which must

   be maintained by federally licensed firearms dealers.

3. COLE falsely represented in the ATF Form 4473, completed at the time of

   the firearms purchase, that he was the actual transferee and buyer of the

   firearms.

4. COLE also falsely represented in the ATF Form 4473, completed at the

   time of the firearms purchase/ that he resided at the address listed on the

   form.


5. After acquiring the firearms/ COLE/ and others unknown to the grand

  jury/ caused firearms and ammunition to be transported from the

   Northern District of Georgia/ and elsewhere/ to the USVI by common

   carriers/ that is/ United States mail carriers and airlines/ without declaring

   the firearms and ammunition to the carrier as required by law.

6. COLE was not licensed as an importer/ manufacturer, dealer/ and collector

   of firearms/ within the meaning of Chapter 44, Title 18, United States Code.
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                                      Overt Acts

   In furtherance of the conspiracy, the defendant, AARON CHRISTOPHER

WILLIAM COLE/ also known as "William Aaron Cole/7 and others unknown to

the grand jury/ committed at least one of the following overt acts:

   1. On or about April 12, 2018, COLE purchased six (6) Clock/ model 22, .40

      caliber pistols from GT Distributors, an FFL located in Rossville, Georgia;

      at the time of the purchase/ COLE completed an ATF Form 4473, in which

      he falsely represented that he was the actual transferee and buyer of the

      firearms.

   2. On or about April 25,2018, COLE purchased a Diamondback, model DB9/

      nme-millimeter pistol from Autrey s Amory/ an FFL located in

      Fayetteville/ Georgia; at the time of the purchase/ COLE completed an ATF

      Form 4473, in which he represented that he was a resident of Georgia.

  3. The next day/ on or about April 26, 2018, COLE purchased an SAR/ model

      B69/ nine-millimeter pistol from Advanced Firearms/ an FFL located

      in Margate/ Florida; at the time of the purchase/ COLE completed an ATF

      Form 4473, in which he falsely represented that he was a resident of

      Florida.

  4. On or about February 9/ 2019, COLE purchased two (2) Clock/ model 22,

      .40 caliber pistols from GT Distributors; at the time of the purchase/ COLE

      completed an ATF Form 4473, in which he falsely represented that he was

      the actual transferee and buyer of the firearms.
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5. On or about February 26,2019, COLE/ and others unknown to the grand

   jury/ caused a parcel of mail to be addressed from Darrell Raines/ 2186

   Glendale Drive, Decatur/ Georgia to Willie Thomson/ Harbor View

   Apartments/ Bldg 16, Apt 194, Chnstiansted, St. Croix/ United States

   Virgin Islands.

6. The February 26, 2019, parcel contained one (1) Clock .40 caliber magazine/

   one (1) Clock nme-nulluneter magazine, and two (2) Clock lower receivers/

   one of which had been purchased on or about February 9, 2019.

7. On or about February 26,2019, COLE/ and others unknown to the grand

  jury/ caused this parcel to be delivered to the United States Postal Sendce

   for shipment to the USVI, without notifying the United States Postal

   Service that the package contained firearms/ thereby preventing the

  required filing of a Shipper s Export Declaration (Electronic Export

  Information (//EEI//)) through the Automated Export System.

8. On or about April 7/ 2019, COLE, and an individual unknown to the grand

  jury/ traveled to Weston Arms Shooting Sports/ an FFL located in Davie/

  Florida/ where COLE purchased one (1) Stoeger/ model Cougar/ .40 caliber

  pistol; at the time of the purchase/ COLE completed an ATF Form 4473, in

  which he falsely represented that he was the actual transferee and buyer of

  the firearm.

9. On or about May 15, 2019, COLE purchased one (1) ATI/ model Omini

  Hybrid Maxx/ 5.56 caliber pistol from Sons of Grants Pawn Shop/ an FFL

  located in Dalton/ Georgia; at the time of the purchase/ COLE completed
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   an ATF Form 4473, in which he falsely represented that he was a resident

   of Georgia.

10. On or about July 24, 2019, COLE purchased one (1) Clock/ model 22, .40

   caliber pistol from Advanced Firearms/ an FFL located in Margate/ Florida.

11. On or about July 25, 2019, COLE purchased two (2) Clock/ model 22, .40

   caliber firearms from Gun World of South Florida/ Inc./ an FFL located in

   Deerfield Beach, Florida; at the time of the purchase/ COLE falsely

   represented that he was the actual transferee and buyer of the firearms and

   he falsely represented that he resided at 2905 NW 116th Terrace in Coral

   Springs, Florida/ when/ in fact/ he resided at 861 NW 85th Terrace/

   Apartment 1805, in Plantation/ Florida.

12. On or about July 26,2019, COLE traveled from Miami/ Florida/ to St. Croix/

   USVI, on American Airlines and declared a firearm; but COLE did not

   declare a firearm on his return flight.

13. On or about August 6/ 2019, COLE purchased three (3) Clock/ model 22,

   .40 caliber pistols from Weston Arms Shooting Sports in Davie Florida; at

   the time of the purchase/ COLE completed an ATF Form 4473 in which he

  falsely represented that he was the actual transferee and buyer of the

  firearms and falsely represented that he resided at 2905 NW 116th Terrace/

   Coral Springs/ Florida/ when/ in fact, he resided at 861 NW 85th Terrace/

   Apartment 1805, in Plantation/ Florida.
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14. On or about August 12,2019, COLE traveled from Ft. Lauderdale/ Florida/

   to St. Crobc/ USVI/ aboard Spirit Airlines and declared a firearm; but COLE

   did not declare a firearm on his return flight.

15. On or about August 19,2019, COLE/ and an individual whose identity is

   unknown to the grand jury/ traveled to Weston Arms Shooting Sports in

   Davie, Florida/ to purchase firearms; COLE completed an ATF Form 4473,

   in which he falsely represented that he was the actual transferee and buyer

   of the firearms.

16. Two days later/ on or about August 22,2019, COLE returned to Weston

   Arms Shooting Sport to purchase the firearms/ that is, four (4) Clock/

   model 22, .40 caliber pistols; at the time of the purchase/ COLE completed

   a an ATF Form 4473, in which he falsely represented that he was the actual

   buyer of the firearms; but staff of the FFL informed COLE that his

   background check for the firearms purchase had been delayed.

17. On or about August 24,2019, COLE returned to Western Arms Shooting

   Sports to complete the firearms purchase but was again informed that his

   background check for the purchase had been delayed.

18. On or about August 26, 2019, COLE traveled to an airport in Fort

   Lauderdale/ Florida/ to travel by Spirit Airline to St. Crobc/ USVI/ with

   checked luggage containing ammunition and two firearms/ that is/ one (1)

   Glock/ model 22, .40 caliber firearm/ and one (1) Sig Sauer/ model P365/

   9mm pistol.
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   19. On or about August 26,2019, COLE and others not known to the grand

      jury/ prevented the filing of a Shipper's Export Declaration through the

      Automated Export System/ in that COLE failed to declare that firearms

      and firearms parts were contained in the shipment from the United States

      to the USVI.

      AU m violation of Title 18, United States Code/ Section 371.


                                    Count Two
  (Unlawful Dealing in Firearms without a license - 18 U.S.C. § 922(a)(l)(A))

   1. Paragraphs One through Six of the Ivlanner and Means Section, and

Paragraphs One through Nineteen of the Overt Acts Section, of Count One of

this Indictment/ are re-alleged and incorporated by reference herein.

   2. Beginning on or about April 12,2018, and continuing through on

or about August 26, 2019, in the Northern District of Georgia and elsewhere,

the defendant/ AARON CHRISTOPHER WILLIAM COLE/ also known as

 William Aaron Cole/ and other persons unknown to the Grand Jury/ aided

and abetted by one another/ willfully engaged in the business of dealing in

firearms without a license/ aU in violation of Title 18, United States Code/ Section

922(a)(l)(A)/ and Section 2.
                                     Count Three
      (Unlicensed Transfer of Firearm to Nonresident - 18 U.S.C. § 922(a)(5))

   Between on or about February 9/ 2019, through on or about M.aicb. 1,2019, in

the Northern District of Georgia and elsewhere/ the defendant/ AARON

CHRISTOPHER WILLIAM COLE/ also known as //WiUiam Aaron Cole/7 not

being a licensed importer/ manufacturer/ dealer, and collector of firearms/ within


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the meaning of Chapter 44, Title 18, United States Code/ and other persons

unknown to the Grand Jury/ aided and abetted by one another/ did knowingly

and -willfully transfer/ sell/ trade/ give, transport and deliver to a person in the

United States Virgin Islands/ at least one of the following firearms/ that is, two (2)

Clock/ model 22, .40 caliber pistols/ knowing/ and with reasonable cause to

believe/ that the person was not then residing in the State of Georgia/ the state in

which the defendant was residing at the time of the transfer/ transfer/ sale/ trade/

giving/ transportation/ and delivery of the firearm(s)/ in violation of Title 18,

United States Code/ Sections 922(a)(5) and 924(a)(l)(D)/ and Section 2.

                             Counts Four through Five
    (False Statement to Federal Firearms Licensee - 18 U.S.C. § 924(a)(l)(A))

   On or about the date alleged in Column B below/ in the Northern District of

Georgia/ the defendant/ AARON CHRISTOPHER WILLIAM COLE/ also known

as William Aaron Cole/ and other persons unknown to the Grand Jury/ aided

and abetted by one another, did knowingly make a false representation with

respect to information required to be kept in the records of a federal firearms

licensee/ licensed under Chapter 44 of Title 18, United States Code/ that is, GT

Distributors/ located on McFarland Avenue in RossviUe/ Georgia/ in connection

with the acquisition of at least one of the corresponding firearms described in

Column C below, that is:



         Column A                     Column B                     Column C
           Count                         Date                      Firearm(s)
Four                          April 12,2018                Six (6) Clock/ model 22, .40
                                                           caliber firearms.
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 Five                        February 9/ 2019             Two (2) Glock/ model 22,
                                                          .40 caliber firearms.


in that the defendant/ AARON CHRISTOPHER WILLIAM COLE/ also known as

"William Aaron Cole/" did falsely represent on a Firearms Transaction Record/

ATF Form 4473, that he was the actual transferee/buyer of the firearm-(s) when in

fact/ as then knew/ he was not the actual transferee/buyer of the firearm(s)/ all in

violation of Title 18, United States Code/ Section 924(a)(l)(A)/ and Section 2.


                                     Forfeiture

   Upon conviction of one or more of the offenses alleged in Counts One

through Five of this Indictment/ the defendant/ AARON CHRISTOPHER

WILLIAM COLE/ also known as "William Aaron Cole/" shall forfeit to the

United States of America, pursuant to Title 18, United States Code, Section

924(d)(l) and Title 28, United States Code/ Section 2461 (c)/ all firearms and

ammunition involved in or used in the commission of the offenses/ including the

following:

   ® One (1) Glock, model 11, .40 caliber lower receiver/ serial number LCS967;

   • One (1) Clock/ model 26, nine-nulluneter lower receiver/ serial number
        TVG772;
   • One (1) Sig Sauer/ model 367, nine-milluneter pistol/ serial number
        66A373105; and

   • One (1) Glock/ model 22, .40 caliber pistol/ serial number TFC029.

   Additionally, upon conviction of one or more of the offenses alleged in this

Indictment, the defendant/ AARON CHRISTOPHER WILLIAM COLE/ also

known as "William Aaron Cole// shall forfeit to the United States pursuant to
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Title 18, United States Code/ Section 3665, all firearms under the immediate

control of the defendant at the time of his arrest.

   If any of the above-described forfeitable property/ as a result of any act or

omission of a defendant: (a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to/ or deposited with, a third party; (c) has been

placed beyond the jurisdiction of the court; (d) has been substantially dimmished

in value; or (e) has been commingled with other property which cannot be

divided without difficulty; it is the intent of the United States, pursuant to 21

U.S.C. § 853(p), to seek forfeiture of any other property of said defendant(s) up to

the value of the forfeitable property described above.

   All pursuant to Title 21, United States Code/ Section 853; Title 18, United

States Code, Section 924(d); and Title/ 28, United States Code/ Section 2461 (c).


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